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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

SUPERIOR HOME MORTGAGE, LLC, f/k/a     )
B&H FINANCE, LLC; and ROGER SWAIM,     )
INDIVIDUALLY AND IN HIS CAPACITY AS    )
PRESIDENT OF SUPERIOR HOME             )
MORTGAGE, LLC,                         )
                                       )
       Plaintiffs,                     )
                                       )
                                       )
v.                                     )                      Case No. 1:19-cv-01056-STA-jay
                                       )                      JURY DEMAND
TERRI FESMIRE SADLER MARBURY,          )
an individual, DAVID MARBURY,          )
an individual,                         )
JENNIFER AZBILL HALL, an individual,   )
BILLY HALL, an individual,             )
B&H INVESTMENTS, INC.,                 )
a dissolved company;                   )
BENJAMIN L. VARGASON, SR.,             )
an individual,                         )
SHONDA VARGASON, an individual,        )
GREAT AMERICAN SPORT, LLC,             )
an administratively dissolved company, )
BANCORPSOUTH BANK, a corporation, and )
JOHN DOES A, B, & C, individuals, and  )
JANE DOES A, B, & C, individuals,      )
                                       )
       Defendants.                     )

                ORDER GRANTING UNOPPOSED MOTION TO VACATE
                          THE SCHEDULING ORDER


       Before the Court is BancorpSouth Bank’s Unopposed Motion to Vacate the Scheduling

Order, or in the Alternative, to Set a Status Conference to Revise the Scheduling Order. (ECF No.

100.) For good cause shown and in light of the lack of opposition, the Motion to Vacate is

GRANTED. The deadlines as laid out in the Scheduling Order (ECF No. 56) are hereby vacated.

The parties shall contact the Court following the completion of the trial in United States of America
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v. Hall et al., 1:19-cr-10143 (W.D. Tenn.) to set a status conference to re-set the pre-trial deadlines

in the Scheduling Order and the trial-related deadlines previously removed from the calendar in

the Court’s Order Granting Vargason’s Motion to Stay (ECF No. 93).

       IT IS SO ORDERED.
                                               s/ S. Thomas Anderson
                                               S. THOMAS ANDERSON
                                               CHIEF UNITED STATES DISTRICT JUDGE
                                               Date: October 7, 2020




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